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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS
                                    (Topeka Docket)

 UNITED STATES OF AMERICA,                     )
                 Plaintiff,                    )
                                               )
 v.                                            )      Case No. 13-CR-40057-JAR
                                               )
 JONATHAN KEARN,                               )
               Defendant.                      )
                                               )

                              ORDER GRANTING MOTION TO
                             CONTINUE STATUS CONFERENCE

      NOW ON THIS 2nd day of January, 2014, the above matter comes before the Court

on the motion of the defendant for a continuance.

       After reviewing the defendant’s motion and being well and truly advised in the

premises, the Court finds that defendant’s counsel has just entered his appearance and

needs time to review the discovery. The Government does not object to the continuance

but requests a firm trial setting due to Government’s witness having to make travel

arrangements from Australia.

       The Court therefore finds that the ends of justice served by granting a continuance

 outweigh the best interest of the public and the defendant in a speedy trial. Any period shall be

 excluded in computing the time within which the trial of this action must commence. 18 U.S.C.

 §3161(h)(7).

        IT IS THEREFORE ORDERED that defendant’s motion should be and the same is

 hereby sustained. The status conference shall be held on January 27, 2014 at 1:30 p.m., and the

 parties should be prepared to discuss a firm trial setting at that time. The time period from

 January 7, 2014 through January 27, 2014, shall be excluded when calculating speedy trial time.
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      IT IS SO ORDERED.

Dated: January 2, 2014
                                          s/ Julie A. Robinson
                                         JULIE A. ROBINSON
                                         UNITED STATES DISTRICT JUDGE
